Case 2:06-cr-20015-GCS-RSW ECF No. 109, PageID.1241 Filed 04/21/10 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                        Plaintiff(s),
                                                         Case No. 06-20015
 vs.
                                                         HON. GEORGE CARAM STEEH


 D-3 RICK COTTON,

                 Defendant(s).
 _____________________________/


                      ORDER DENYING MOTION FOR FURLOUGH (#108)

        Defendant has requested a Furlough to attend his brother’s funeral. This Court lacks

 jurisdiction to order such relief inasmuch as defendant is now in the custody of the Bureau

 of Prisons. Any such arrangements would have to be approved and made by the Bureau

 of Prisons itself.

        Accordingly, Defendant’s Motion is DENIED.



                                           s/George Caram Steeh
                                           GEORGE CARAM STEEH
                                           UNITED STATES DISTRICT JUDGE

 Dated: April 21, 2010

                                   CERTIFICATE OF SERVICE

 Copies of this Order were served on the parties/attorneys of record on April 21, 2010, by
 electronic and/or ordinary mail.


                                           s/Marcia Beauchemin
                                           Case Manager/Deputy Clerk
